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                       EXHIBIT B
                   to Declaration of Nilay Vora
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11             T.            NOTIFYING USPV CUSTOMERSHOWTO CLAIM THEIR PROPERTY

12               108.         The search              and      seizure         warrants               the     government                seeks            list

13   the    nests             of      safety         deposit         boxes          at    USPV among               the      items           to     be

14   seized.             These           nests        of    safety          deposit            boxes        are     evidence                and

15   instrumentalities                          of    USPV's         criminality.                    The warrants                   authorize                   the

16   seizure            of      the      nests        of    the      boxes          themselves,               not        their         contents.                  By

17   seizing            the        nests        of    safety         deposit             boxes,        the        government                will

18   necessarily                   end      up with         custody          of      what       is     inside            those         boxes

19   initially.                    Agents        will       follow          their         written            inventory              policies              to

20   protect            their          agencies            from      claims          of    theft        or        damage          to    the        contents

21   of    the      boxes,             and      to    ensure         that      no hazardous                   items         are        unknowingly

22   stored         in        a dangerous               manner.             Agents         will        attempt            to      notify           the

23   lawful         owners             of      the    property           stored           in    the     boxes         how to            claim            their

24   property,                such       as by posting                that          information               on the             internet           or      at

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 1   USPV itself,               or      by    contacting           the    owners           directly.                In order          to

 2   notify          the     owners          directly,        agents         will,         in       accordance             with      their

 3   policies              regarding          an unknown           person's           property,              look        for      contact

 4   information               or      something          which     identifies                the     owner.        40         (USPV

 5   recommends              that       box     renters       include         their           or     their     designees'

 6   telephone              numbers          on a note        in    the      box      in      the     event         that       USPV removes

 7   the      contents           for     nonpayment           of    rental           fees.)

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                The FBI policy         regarding      taking    custody     of an unknown person's
27   property      provides,     in part,       that   agents    "inspect     the property    as
     necessary       to identify      the owner and preserve             the property     for
28   safekeeping."           The inspection        "should    extend     no further   than
     necessary       to determine       ownership."
                                                      85

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